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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 9                                       AT TACOMA

10      STATE OF WASHINGTON,                                CASE NO. 3:17-cv-05806-RJB
11                                   Plaintiff,             ORDER DENYING DEFENDANT
                v.                                          GEO’S MOTION FOR
12                                                          RECONSIDERATION OF ORDER
        THE GEO GROUP, INC.,                                DENYING MOTION FOR
13                                                          SUMMARY JUDGMENT ON
                                     Defendant.             FIRST CAUSE OF ACTION (DKT.
14                                                          164)
15

16          Defendant moves for reconsideration of Order Denying Motion for Summary Judgment

17   on First Cause of Action (Dkt. 162), pointing out that the Court’s Order did not address the

18   Washington Department of Labor and Industries Administrative Policy ES.A.1. The Court

19   should have addressed that policy, and will do so now, but that policy makes no difference in the

20   Court’s conclusion in Dkt. 162, and further response pursuant to LCR 7(h) is not necessary, nor

21   is oral argument necessary.

22          The subject policy, ES.A.1, is entitled “Minimum Wage Act Applicability” and refers to

23   RCW 49.46 and WAC 296-128. The policy reiterates the pre-eminence of protection to the

24   worker in paragraphs 1 and 2.


     ORDER DENYING DEFENDANT GEO’S MOTION FOR RECONSIDERATION - 1
               Case 3:17-cv-05806-RJB Document 165 Filed 12/27/18 Page 2 of 3



 1           The sub-paragraph that, the defense argues, provides it with some relief here is ES.A.1,

 2   6(k), which reads as follows:

 3           Inmates and others in custody. Residents, inmates or patients of state, county or
             municipal correctional, detention, treatment or rehabilitative institution would not
 4           be required to be paid minimum wage if they perform work directly for, and at,
             the institution's premises where they are incarcerated, and remain under the direct
 5           supervision and control of the institution. State inmates assigned by prison
             officials to work on prison premises for a private corporation at rates established
 6           and paid for by the state are not employees of the private corporation and would
             not be subject to the MWA.
 7

 8           First, the residents at issue here are not residents of a “state, county, or municipal […]

 9   institution.”

10           Second, the residents, or detainees, are not “state inmates.”

11           Third, the institution operated by defendant is not a “prison,” which is defined by Black’s

12   Law Dictionary (9th ed.) as “A state or federal facility of confinement for convicted criminals,

13   esp. felons.”

14           Fourth, work done by residents, or detainees, at Defendant’s facility is not compensated

15   “at rates established and paid for by the state.”

16           ES.A.1 provides defendant no relief from the Court’s Order Denying Defendant the GEO

17   Group, Inc.’s Motion for Summary Judgment on Plaintiff’s First Cause of Action (Dkt. 162).

18           We should keep in mind that these issues are raised here in a summary judgment motion.

19   There are, at least, material issues of fact that prevent summary judgment. Exactly what issues

20   and what instructions will be presented to a jury remain to be seen.

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     ORDER DENYING DEFENDANT GEO’S MOTION FOR RECONSIDERATION - 2
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 1         THEREFORE, Defendant’s Motion for Reconsideration (Dkt. 164) is hereby DENIED.

 2         IT IS SO ORDERED.

 3         Dated this 27th day of December, 2018.

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 5                                     A
                                       ROBERT J. BRYAN
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                                       United States District Judge
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     ORDER DENYING DEFENDANT GEO’S MOTION FOR RECONSIDERATION - 3
